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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                 MAGISTRATE JUDGE
                                  CRAIG B. SHAFFER

Courtroom Deputy: Nel Steffens                              FTR: CBS PM
                                                            Date: March 27, 2006
Case No.: 03-cr-00023-MSK

UNITED STATES OF AMERICA,                                   Habib Nasrullah for William Taylor

                      Plaintiff,

vs.

SCOTT KIMBALL                                               Not present

                  Defendant.
______________________________________________________________________________

           INITIAL APPEARANCE ON SUPERVISED RELEASE VIOLATION
______________________________________________________________________________
Court in session: 1:46 p.m.

Court calls case and appearances. Sue Heckman present from Probation. Defendant is present in
custody.

Defendant is advised of all rights, charges, and possible penalties.
Defendant tenders a financial affidavit and requests court-appointed counsel.

ORDERED:
•   Counsel from the Criminal Justice Act panel is appointed to represent the defendant,
    specifically Ken Eichner who has previously represented the defendant.

Government is seeking detention.

ORDERED:
•   Preliminary and Detention hearing is set for March 30, 2006 at 10:00 a.m.
•   Defendant is remanded to the custody of the U.S. Marshal.



Court in recess: 1:58 p.m.
Hearing concluded.
Hearing duration: 12 minutes
